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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW HAMPSHIRE


Salahudin Ash-Shaheed

      v.                                          Case No. 21-cv-227-LM

FCI Berlin




                                     ORDER


      After due consideration of the objection filed, I herewith

approve the Report and Recommendation of Magistrate Judge Andrea

K. Johnstone dated May 26, 2021, and dismiss plaintiff’s

complaint (Doc. No. 1) for failure to state a claim and deny

plaintiff’s motion for a temporary restraining order (Doc. No.

3).


                                           ____________________________
                                           Landya B. McCafferty
                                           Chief Judge

Date: May 5, 2021

cc: Salahudin Ash-Shaheed, pro se
